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EXHIBIT “TT”
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>——-———-—Gase 4:12-ev-00989—Decument 36-5—Filed in-FXSD-on-06/15/12. Page 20
Johnson, Mr. Elton Case Type: PIDEEPWA DOr: 4/20/2010 LIM Date: Not Set
Case #: 217361 ( ) Class: SET Assigned: JIERICKS Date Opened: 6/21/2010
6/15/2012 03:56 PM Page 1 of 2
Case Note - Page 153 of 321
Date: 05/09/2011 12:33PM Staff: JIERICKS Topic: Demand

From: Jill Erickson

To: ttaylor@andrewskurth.com

CC: Kurt Arnold; Jason Itkin; Cory Itkin; Paul Skrabanek; Kristina McDonald; Monica Veer
Subject: Johnson, Elton - Updated Records #2

Date Sent: 5/9/2011 12:33:32 PM

| Thomas W. Taylor |

Andrews Kurth LLP

600 Travis Street, Suite 4200

Houston, Texas 77002

Dear Tom:.

We have updated the portal that has the relevant reports, medical records and medical billing to date.
To access the updated information, please log onto the same ftp site and utilize the same
Username/Password. See below for specific information. Click on the icon: “JohnsonE Updated
Records - 2” and it will download to your computer.

If you have any questions, please do not hesitate to give me a call.

Sincerely,

Kurt B. Arnold

Arnold & Itkin LLP

5 Houston Center
1401 McKinney Street
Suite 2550

Houston, TX 77010
713.222.3800
713.222.3850 (fax)

karnold@arnolditkin.com <blocked::mailto:karnold@armolditkin.com>

Download Information for Thomas W. Taylor

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=——————Gase 4-42-ev-90989Document 36-5—Filed-in -XSD-on-06/15/4.2 Page-3-of 7-__—
Johneon, Mr. Elton / Case Type: PIDEEPWA DO!: 4/20/2010 g LIM Date: Not Set |

. Case #: 217361 ( ) Class:SET — Assigned: JIERICKS Bate Opened: 6/27/2016 |
6/15/2012 03:56 PM Page 2 of 2

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communications protected by the attorney-work product privilege and/or the attorney client privilege.
This email is intended to be reviewed only by those individuals to whom the email/download is
addressed. If you have received this email by error, please notify Arnold &,Jtkin, LLP immediately:
Please do not copy, re-produce, disclose, distribute, and/or disseminate this email/download, or any
attachments, to anyone. Thank you for your cooperation.

Click or type the link below into your Internet browser and then follow the prompts to enter your
username/password.

ftp://itp.trialassist.net <ftp://ftp.trialassist.net/>

Username: tt-johnsone (lowercase)

Password: tt! (lowercase)

Once you are connected, you will see a folder named “JohnsonE Updated Records - 2”. Copy this
folder to your desktop by dragging and dropping it to your desk top. This will not take long as they are
PDFs and no videos are included. After you save it ta your desktop, open the “JohnsonE Updated
Records - 2” folder.

If you are using Windows Explorer to access the ftp site, you may receive the following prompt:

FTP root at ftp.trialassist.net <ftp://ftp.trialassist.net/>

To view this FTP site in Windows Explorer, click Page, and then click Open FTP Site in Windows
Explorer, To the right/top of your screen, you will see your “home” button and a “Page” button. Click
the page button dropdown arrow. Choose Open FTP Site in Windows Explorer. When you do this, it
may prompt you to add username and password again. Some computers do this...others do not. If
so, enter it again. You will then see the "JohnsonE Updated Records 2” folder in Windows Explorer
and you can proceed with process above.

For any technical assistance concerning the download of this Updated Records 2 file, you may contact
my Technical Support: Mary Markert, Trial Assist, 713-819-9988, support@trialassist.net
<mailto:support@trialassist.net> or mmarkert@trialassist.net <mailto:mmarkert@trialassist.net> .

Attachments: att69656.gif
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ARNOLD & ITKIN LLP

A REGISTERED LIMITED LIABILITY PARTNERSHIP
ATTORNEYS AT LAW
1401 MCKINNEY STREET, SUITE 2550
Houston, TEXAS 77010
(713) 222-3800
(713) 222-3850 (FAX)
www.arnolditkin.com

April 13, 2011

Via Federal Express Delivery

Gulf Coast Claims Facility

Kenneth R. Feinberg, Administrator
5151 Blazer Parkway, Suite A
Dublin, Ohio 43017

Re: Claimant’s Name: Elton Johnson
Claimant’s ID Number: 0003495033

Dear Mr. Feinberg:

Enclosed are additional medical records to be attached to Mr. Johnson’s claim as
Supporting documentation.

Sincerely,

Jill Erickson
Sr. Paralegal to Kurt B. Arnold

JE:mv
Enclosures

ce Via Federal Express Delivery
Mary Pat Fox
Feinberg Rozen, LLP
The Willard Office Building
1455 Pennsylvania Avenue, NW
Suite 390
Washington, DC 20004-1008

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Jil) Erickson

From: Jill Erickson

Sent: Wednesday, July 13, 2011 1:32 PM

To: 'info@gccf-claims.com’; ‘Mary Pat Fox’; 'mkrozen@feinbergrozen.com'

Cc: Kurt Arnold; Jason Itkin

Subject: Johnson, Elton - Claimant ID No, 0003495033

Attachments: GCCF - Doc Submission Coverpage.PDF; Medical Billing 07.12.11. PDF; Cupic_s Follow Up

Visit 05.25.11.PDF; DL, W2s, Diploma & Training Certificates.PDF;
S60BW-111062816220.pdf; S6OBW-111062816220.pdf

Attached are the following documents regarding Elton Johnson:

Updated past medical expense chart and documentation totaling $30,489.72;
Follow-Up Visit Report from Zoran Cupic, MD, dated 5.25.11;

Mr. Johnson's driver's license;

Mr. Johnson's 2010 W-2s;

Mr. Johnson's 2009 W-2s;

Mr. Johnson's high school diploma and training certificates;

Smooth Master Log for the PSV Damon B. Bankston dated April 20, 2010

Please let me know if you need any further information or documentation.

Jill Erickson

Sr. Paralegal to Kurt B. Arnold
Arnold & Itkin LLP

1401 McKinney, Suite 2550
Houston, Texas 77010
713.222.3800 | 713.222.3850 fax

jerickson@arnolditkin.com | www.arnolditkin.com

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Hovston, TEXAS 77010
(713) 222-3800

(713) 222-3850 (FAX)
www.arnolditkin.com

October 4, 2010

' Via CMRRR # 7009 2250 0001 7208 5062
Cliff A. LaCour
Laborde & Neuner
1001 W. Pinhook Road, Suite 200
Lafayette, Louisiana 70503

Re: Tidewater Employee: Elton Johnson
DOA: April 20, 2010

Dear Mr. LaCour:

As an American Seaman, Elton Johnson is entitled to payment of his ongoing medical
“expérises related to the i injuries he sustained on April 20, 2010, while aboard the Deepwater
Horizon. Mr. Johnson is not at maximum medical improvement and needs further medical
treatment as evidenced by the medical reports which are attached.

We submit the following bills for payment under Tidewater’s maintenance and cure
obligations to Mr. Johnson:

Darron McCann, MD $ 720.73
$720.73 payable to Darron McCann, MD for balance due.
David H. Mielke, MD $ 785. 00

$785.00 payable to David H. Mielke jor balance due.

James W. Quillin, PhD $ 581.00
$200:00 payable to Knoll Law Firm for amount previously paid; and |
$381.00 payable to Arnold & Itkin LLP for amount previously paid.

Lemoine Therapy Services of CENLA $1,298.00
$1,298.00 payable to Arnold & Itkin LLP for amount previously paid.

Daniel J. Trahant, MD $ 350.00
$350.00 payable to Knoll Law Firm for amount previously paid.

. Walgreens Pharmacy $ 507.46
$507.46 payable to Arnold & Itkin LLP for amount previously paid.

~ Ralph B. Lilly, MD $4,000.00
$4,000. oo payable to Arnold & Itkin LLP for amount previously paid.
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Cliff A. LaCoar
October 4, 2010
Page 2

ACT Hearing & Balance Center, Inc. $ 185.00
$185.00 payable to Arnold & Itkin LLP for amount previously paid.

Counseling Services of SWLa $3,745.00
$190.00 payable to Arnold & Itkin LLP for amount previously paid; and
$3,555.00 payable to Counseling Service of SWLa for balance due.

James H. Blackburn, M.D. $1,250.00
$1,250.00 payable to Arnold & Itkin LLP for amount previously paid.

Please advise me in writing if Tidewater does not intend to honor its cure obligations to
Mr. Johnson. |

Sincerely,
Kurt B. Amold

KBA;je
Enclosures
